           Case 1:13-cr-00085-LJO-BAM Document 213 Filed 05/17/17 Page 1 of 3

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 6 Attorneys for Plaintiff
   United States of America
 7

 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:13-CR-00085-006-LJO-SKO

12                             Plaintiff,                APPLICATION FOR ORDER FOR DISCOVERY;
                                                         ORDER THEREON
13   v.

14   JESUS FELIX,

15                             Defendant.

16

17                                               APPLICATION

18          On May 1, 2017, the U.S. Probation Department filed a 12C petition alleging defendant Felix

19 was in violation the terms of his supervised release that were imposed at his sentencing hearing on May

20 2, 2016. A warrant was issued and defendant Felix made his initial appearance in Federal Court before

21 the Hon. Erica P. Grosjean on May 15, 2017. Defendant Felix denied the allegations in the petition.

22 The matter was set for a status conference on June 12, 2017. The government requested discovery and

23 was advised by defendant Felix’s supervising probation officer that a court order was needed for the

24 police reports and other information that form the basis of the allegations in the 12C petition to be

25 provided to counsel.

26          Accordingly, the United States asks that the Court order that the U.S. Probation Department be

27 allowed to release to the government the supporting reports and other documentation regarding the

28 ///


      REQUEST TO UNSEAL SEARCH WARRANTS
30
          Case 1:13-cr-00085-LJO-BAM Document 213 Filed 05/17/17 Page 2 of 3

 1 allegations in the 12C petition for discovery purposes.

 2 Dated: May 16, 2017                                   PHILLIP A. TALBERT
                                                         United States Attorney
 3

 4                                                 By: /s/ Laurel J. Montoya
                                                       LAUREL J. MONTOYA
 5                                                     Assistant United States Attorney
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      REQUEST TO UNSEAL SEARCH WARRANTS
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            Case 1:13-cr-00085-LJO-BAM Document 213 Filed 05/17/17 Page 3 of 3

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11   UNITED STATES OF AMERICA,                          CASE NO. 1:13-CR-00085-006-LJO-SKO

12                             Plaintiff,               ORDER
13   v.

14   JESUS FELIX,

15                             Defendant

16

17           Upon application of the United States of America and good cause having been shown,

18           IT IS HEREBY ORDERED that the U.S. Probation Department can release to the government

19 information in its files for discovery purposes in the above-captioned matter.

20
     IT IS SO ORDERED.
21

22        Dated:   May 17, 2017                              /s/
                                                      UNITED STATES MAGISTRATE JUDGE
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27

28


      [PROPOSED] ORDER TO UNSEAL SEARCH WARRANTS
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